           Case 1:19-cv-00430-TSC Document 15 Filed 09/23/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                         )
TEKWAY INC., an Illinois corporation,    )
                                         )
              Plaintiff,                 )
                                         )
      v.                                 )       Civil Action No. 19-cv-430 (TSC)
                                         )
                                         )
UNITED STATES CITIZENSHIP AND            )
IMMIGRATION SERVICES,                    )
                                         )
              Defendant.                 )
                                         )

                                    ORDER

       Consistent with the accompanying Memorandum Opinion, ECF No. 14,

Defendant’s Motion to Dismiss, ECF No. 11, is hereby GRANTED. This action is

hereby DISMISSED for lack of jurisdiction. See Fed. R. Civ. P. 12(b)(1).



Date: September 23, 2019


                                         Tanya S. Chutkan
                                         TANYA S. CHUTKAN
                                         United States District Judge




                                        Page 1 of 1
